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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In Re:                                        )
                                              )      No. 23-00107
Paula Gallagher,                              )      Janet S. Baer
                                              )      Chapter 13
               Debtor(s).                     )      DuPage

                                  NOTICE OF MOTION

To: SEE ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on May 3, 2024 at 9:30 AM, I will appear before the
Honorable Janet S. Baer, or any judge sitting in that judge’s place, either in Courtroom 615
of the Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn Street,
Chicago, IL 60604, or electronically as described below, and present the motion of Debtor’s
to Modify Plan, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by video, use this link: https://www.zoomgov.com/join. Then enter the
meeting ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828- 7666. Then enter the meeting ID and password.

       Meeting ID and passcode. The meeting ID for this hearing is: 160 731 2971,
Passcode is 587656. The meeting ID and passcode can also be found on the judge’s page on
the court’s website.

       If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a
Notice of Objection is timely filed, the motion will be called on the presentment date. If no
Notice of Objection is timely filed, the court may grant the motion in advance without calling
it.
                                                              /s/ Vaughn White
                                                              Vaughn White
                                                              VW LAW LLC
                                                              Attorney for Debtor(s)
                                                              1755 Park St, Suite 200
                                                              Naperville, IL 60563
                                                              312-888-0131
                                                              vaughn@vaughnwhite.com
                                                              ARDC # 6198291


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                              CERTIFICATE OF SERVICE

       I, Vaughn A. White, an attorney, certify that I served a copy of this notice and the
attached motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on March 28, 2024.


                                            /s/ Vaughn White
                                            Vaughn White




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Label Matrix for local noticing               Bridgecrest Acceptance Corporation,
                                                   Document           Page 3 ofc/o7 AIS     DuPage Credit Union
0752-1                                        4515 N Santa Fe Ave. Dept. APS                c/o Codilis & Associates, P.C.
Case 23-00107                                 Oklahoma City, OK 73118-7901                  15W030 North Frontage Road
Northern District of Illinois                                                               Suite 100
Eastern Division                                                                            Burr Ridge, IL 60527-6921
Fri Apr 7 16:59:03 CDT 2023
U.S. Bankruptcy Court                         (c)ACHIEVE                                    American Express National Bank
Eastern Division                              2114 S FREEDOM WAY                            c/o Becket and Lee LLP
219 S Dearborn                                TEMPE AZ 85288-6230                           PO Box 3001
7th Floor                                                                                   Malvern PA 19355-0701
Chicago, IL 60604-1702

Amex                                          Avant                                         Barclays Bank
Correspondence/Bankruptcy                     Attn: Bankruptcy                              Attn: Bankruptcy
Po Box 981540                                 Po Box 9183380                                P.O. Box 8801
El Paso, TX 79998-1540                        Chicago, IL 60691-3380                        Wilmington, DE 19899-8801


Bridgecrest Acceptance Corp                   Bridgecrest Acceptance Corporation            Carvana, LLC / Bridgecrest c/o AIS Portfolio
7300 East Hampton Avenue                      AIS Portfolio Services, LLC                   4515 N. Santa Fe Ave. Dept. APS
Suite 100                                     4515 N Santa Fe Ave. Dept. APS                Oklahoma City, OK 73118-7901
Mesa, AZ 85209-3324                           Oklahoma City, OK 73118-7901


Citibank                                      Credit One Bank                               DuPage Credit Union
Attn: Bankruptcy                              Attn: Bankruptcy Department                   Bankruptcy Department
P.O. Box 790034                               Po Box 98873                                  P.O. Box 3930
St Louis, MO 63179-0034                       Las Vegas, NV 89193-8873                      Naperville, IL 60567-3930


Dupage Credit Union                           FreedomPlus                                   Goldman Sachs Bank USA
Attention: Bankruptcy Department              Attn: Bankruptcy                              Attn: Bankruptcy
Po Box 3930                                   Po Box 2340                                   Po Box 70379
Naperville, IL 60567-3930                     Phoenix, AZ 85002-2340                        Philadelphia, PA 19176-0379


Grant & Weber                                 Harris & Harris                               Hilton Grand Vacation Club
5586 S. Fort Apache Road Suite 110            111 West Jackson Blvd Suite 400               PO Box 402705
Las Vegas, NV 89148-7682                      Chicago, IL 60604-4135                        Atlanta, GA 30384-2705



Hilton Resorts Corporation                    IRS                                           JPMorgan Chase Bank, N.A.
6355 Metrowest Blvd., Suite 180               P.O. Box 7346                                 s/b/m/t Chase Bank USA, N.A.
ORLANDO, FL 32835-7606                        Philadelphia, PA 19101-7346                   c/o Robertson, Anschutz, Schneid,
                                                                                            Crane & Partners, PLLC
                                                                                            6409 Congress Avenue, Suite 100
                                                                                            Boca Raton, FL 33487-2853
(p)JEFFERSON CAPITAL SYSTEMS LLC              LVNV Funding, LLC                             Laurette Rondenet/MaryLyn Patterson
PO BOX 7999                                   Resurgent Capital Services                    2443 Warrenville Rd Suite 150
SAINT CLOUD MN 56302-7999                     PO Box 10587                                  Lisle, IL 60532-4351
                                              Greenville, SC 29603-0587


Mastercard                                    Mastercard Capital One                        Michael Gallagher
PO Box 30285                                  PO Box 71083                                  2047 Chatham Drive
Salt Lake City, UT 84130-0285                 Charlotte, NC 28272-1083                      Wheaton, IL 60189-5860
                  Case 23-00107            Doc 58      Filed 03/28/24            Entered 03/28/24 20:36:45           Desc Main
(p)NATIONWIDE CREDIT AND COLLECTION INC              Northwestern
                                                          DocumentMedicine Page 4 of 7                    (p)PORTFOLIO RECOVERY ASSOCIATES LLC
ATTN BOB BECK                                        PO Box 4090                                          PO BOX 41067
815 COMMERCE DR                                      Carol Stream, IL 60197-4090                          NORFOLK VA 23541-1067
SUITE - 270
OAK BROOK IL 60523-8852

U.S. Bank NA dba Elan Financial Services             Upstart Finance                                      Upstart Network, Inc
Bankruptcy Department                                Attn: Bankruptcy                                     PO BOX 1931
PO Box 108                                           Po Box 1503                                          Burlingame, CA 94011-1931
Saint Louis, MO 63166-0108                           San Carlos, CA 94070-7503


(p)VON MAUR INC                                      Visa                                                 Glenn B Stearns
6565 BRADY STREET                                    PO Box 60500                                         801 Warrenville Road Suite 650
DAVENPORT IA 52806-2054                              City of Industry, CA 91716-0500                      Lisle, IL 60532-4350



Patrick S Layng                                      Paula Gallagher                                      Vaughn A White
Office of the U.S. Trustee, Region 11                2047 Chatham Drive                                   White Law Offices, PC
219 S Dearborn St                                    Wheaton, IL 60189-5860                               954 W. Washington Blvd.
Room 873                                                                                                  Suite 625
Chicago, IL 60604-2027                                                                                    Chicago, IL 60607-2211



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Jefferson Capital Systems LLC                        Nationwide Credit & Collections, Inc                 Portfolio Recovery Associates, LLC
Po Box 7999                                          Attn : Bankruptcy                                    c/o Banana Republic
Saint Cloud MN 56302-9617                            815 Commerce Dr Ste 270                              POB 41067
                                                     Oak Brook, IL 60523                                  Norfolk VA 23541


VON MAUR                                             (d)Von Maur
6565 BRADY ST                                        Attn: Bankruptcy
DAVENPORT, IA 52806                                  6565 N Brady St
                                                     Davenport, IA 52806




                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


Achieve
2114 E Rio Salado Blvd
Tempe, AZ 85281




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                  Case 23-00107      Doc 58     Filed 03/28/24      Entered 03/28/24 20:36:45     Desc Main
(d)Grant & Weber                              (u)Hiltonresortscorp/hgv
                                                   Document           Page 5 of 7      End of Label Matrix
5586 S. Fort Apache Road Suite 110                                                     Mailable recipients   41
Las Vegas, NV 89148-7682                                                               Bypassed recipients    2
                                                                                       Total                 43
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

    In Re:

    Paula Gallagher,

                 Debtors.

                         MOTION TO MODIFY PLAN PAYMENTS

        NOW COMES Debtor PAULA GALLAGHER, by and through her attorney,

 Vaughn A. White, and in support of his motion to modify plan payments, states as follows:

        1. Jurisdiction is proper and venue is fixed in this Court with respect to these parties.

        2. On January 5,2023, Debtor filed a voluntary petition for relief pursuant to Chapter

  13 under Title 11 USC, and the Chapter 13 plan was confirmed on June 16,2023.

        3. The Debtor's current Chapter 13 plan payments are $2550.00 per month for 60

  months.

        4. The Debtor is past due $8,219.51 as of February 13, 2024.

        5. Debtor has paid at least $24,894.24 into his Chapter plan, but is still in arrears

  on the plan.

        6. The Debtor proposes to modify his Chapter 13 plan pursuant to 11 USC § 1329

  to cure the default.

        7. Debtor proposes to make a Good Faith Payment to her Attorney in the amount

  of $2550.00.

        WHEREFORE, the Debtor, PAULA GALLAGHER , prays that this Honorable

 Court enter an Order to Modify the Chapter 13 Plan to cure the existing default and for

 such relief as the Court deems fair and proper.
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                                         Respectfully Submitted,




                                         Vaughn A. White
 Vaughn A. White
 White Law Offices, PC
 Attorney for Debtor
 954 W. Washington Blvd., Suite 625
 Chicago, IL 60607
 312-243-6200
 vaughn@vaughnwhite.com
 ARDC # 6198291




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